~ AO 245A   (Rev. 12/03) Judgment of Acguittal



                                      UNITED STATES DISTRICT COURT

_ _ _ _ _ _ _E_A_S_T_E_R_N                                        DISTRICT OF              N_O_RT_H_C_A_R_O_L1_N_A   _

        UNITED STATES OF AMERICA
                                                                          JUDGMENT OF ACQUITTAL
                               v.

            RANDY EDWARD CHAMBERS                                         CASE NUMBER: 5:09-CR-253-4F




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




                                                  Senior USDJ
Name of Judge                                    Title of Judge

6/17/2010
                                    Date




                 Case 5:09-cr-00253-BO                        Document 98       Filed 06/17/10    Page 1 of 1
